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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
      Plaintiff,                    )
                                    )
v.                                  )                Case No. 14-CR-10363-RGS
                                    )
BARRY J. CADDEN, et al.             )                ORAL ARGUMENT REQUESTED
                                    )
      Defendants.                   )
____________________________________)

                          DEFENDANT KATHY S. CHIN'S
                     MOTION IN LIMINE TO EXCLUDE EVIDENCE
                       OF OTHER ALLEGED WRONGDOING

       The Defendant Kathy S. Chin moves for an order in limine prohibiting evidence of or

reference in the arguments of counsel to any alleged wrongdoing by Kathy Chin other than that

charged in the four counts against her.

       As grounds for this motion, Kathy Chin states that she is not charged in any conspiracy or

RICO count and as a low level employee of the corporation cannot be held vicariously liable for

the misdeeds - if any - of her coworkers. The government does not allege that the drugs that

were shipped pursuant to the four charged orders were tainted, improperly prepared or tested or

caused harm to anyone at all. Nor does the government claim that Chin ever failed to do her job,

ensuring that the right drugs went to the right facility. Thus evidence of alleged misdeeds

unrelated to the four charged shipments is irrelevant, misleading, unduly prejudicial and a waste

of judicial resources and should be excluded.

       The defendant cannot list the specific testimony the government might elicit at trial

because the government has provided only a generic 404b disclosure which does not comply
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with FRE 404b's notice requirement and has not responded to the defendants' request for specific

notice for each defendant. But by way of example, government witness and former NECC

employee Lindsay Carvalho testified at the grand jury that Kathy Chin on some unspecified

occasion added two syringes with similar expiration dates (within days of each other) to an order

of 25 syringes that was short by 2. Lindsay Carvalho, Grand Jury 12/10/13, P.72-73. The

defendant cannot reasonably defend against such amorphous and unspecified allegations

unrelated to the charged shipments or charged conduct and such testimony is therefore irrelevant

and unfairly prejudicial and should be excluded.




                              REQUEST FOR ORAL ARGUMENT

       Defendant believes that oral argument will assist the Court and requests a hearing on this

motion. Local Rule 7.1(d).




                                                    Respectfully Submitted,


                                                    KATHY S. CHIN,
                                                    By her attorney,



                                                    ____/s/ Joan M. Griffin

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Date: September 12, 2018


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                              CERTIFICATE OF SERVICE

      I hereby certify that the above document was served on all parties of record by ECF filing

on September 12, 2018.


                                                   /s/ Joan M. Griffin
                                                   Joan M. Griffin




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